         Case 1:20-cv-01456-TNM Document 24 Filed 01/12/21 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 CENTER FOR DEMOCRACY &
 TECHNOLOGY,

                        Plaintiff,
                                                           Case No. 1:20-cv-01456 (TNM)
                        v.

 DONALD J. TRUMP, in his official capacity
 as President of the United States of America,

                        Defendant.


                                            ORDER

       On December 11, 2020, the Court issued an Order granting the Defendant’s Motion to

Dismiss. See 12/11/2020 Order, ECF No. 23. The Order also stated: “The Plaintiff may file a

motion for leave to amend its Complaint within 30 days from the date of this Order. If the

Plaintiff does not do so, the case shall be dismissed with prejudice.” Id. To date, no motion for

leave to amend has been filed on the docket. Therefore, it is hereby

       ORDERED that the case is DISMISSED with prejudice.

       SO ORDERED.

       The Clerk of the Court is directed to close the case. This is a final, appealable Order.

                                                                            2021.01.12
                                                                            15:07:03 -05'00'
Dated: January 12, 2021                              TREVOR N. McFADDEN, U.S.D.J.
